         Case 2:05-bk-16100-ES          Doc 30-1 Filed 07/06/05 Entered 07/06/05 00:00:00                Desc
                                          Main Document Page 1 of 3

Form B18 (Official Form 18)
(1/98)
                                      United States Bankruptcy Court
                                       Central District of California
                                      255 East Temple Street, Los Angeles, CA 90012

                                          _DISCHARGE
                                           ________________________
                                                        OF DEBTOR
                                            _IN
                                             ______________________
                                                A CHAPTER 7 CASE

DEBTOR(S) INFORMATION:                                       BANKRUPTCY NO. LA 05-16100-ES
WILLIAMS, VERONICA
SSN: XXX-XX-7443                                             CHAPTER 7
EIN: N/A
101 E CALDWELL STREET APT #B
COMPTON, CA 90220



        It appearing that the debtor is entitled to a discharge, IT IS ORDERED: The debtor is granted a discharge under
section 727 of title 11, United States Code, (the Bankruptcy Code).



                                                                                BY THE COURT,

                                                                                Jon D. Ceretto
Date: July 6, 2005                                                              Clerk of the Court




                              SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION




(Form rev. 1/98) VAN-30                                                                                      30 /OW
        Case 2:05-bk-16100-ES             Doc 30-1 Filed 07/06/05 Entered 07/06/05 00:00:00                        Desc
                                            Main Document Page 2 of 3

Form B18 Continued
(1/98)
                                      EXPLANATION OF BANKRUPTCY DISCHARGE
                                               IN A CHAPTER 7 CASE

       This court order grants a discharge to the person named as the debtor.            It is not a dismissal of the case and it
does not determine how much money, if any, the trustee will pay to creditors.

_____________________________________
Collection of Discharged Debts Prohibited

         The discharge prohibits any attempt to collect from the debtor a debt that has been discharged. For example, a
creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach wages or
other property, or to take any other action to collect a discharged debt from the debtor. [In a case involving community
property:] [There are also special rules that protect certain community property owned by the debtor’s spouse, even if
that spouse did not file a bankruptcy case.] A creditor who violates this order can be required to pay damages and
attorney’s fees to the debtor.

        However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against the
debtor’s property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. Also, a debtor
may voluntarily pay any debt that has been discharged.

________________________
Debts That are Discharged

          The chapter 7 discharge order eliminates a debtor’s legal obligation to pay a debt that is discharged. Most, but
not all, types of debts are discharged if the debt existed on the date the bankruptcy case was filed whether the debt was
included in the schedules or omitted from them. (If this case was begun under a different chapter of the Bankruptcy Code
and converted to chapter 7, the discharge applies to debts owed when the bankruptcy case was converted.)

_Debts
 ___________________________
       That are Not Discharged

         Some of the common types of debts which are ___
                                                     not discharged in a chapter 7 bankruptcy case are.

         a. Debts for most taxes;

         b. Debts that are in the nature of alimony, maintenance, or support;

         c. Debts for most student loans;

         d. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

         e. Debts for personal injuries or death caused by the debtor’s operation of a motor vehicle while intoxicated;

         f. Some debts which were not properly listed by the debtor;

         g. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are not
            discharged;

         h. Debts for which the debtor has given up the discharge protections by signing a reaffirmation agreement in
            compliance with the Bankruptcy Code requirements for reaffirmation of debts.

        This information is only a general summary of the bankruptcy discharge. There are exceptions to these general
rules. Any party may request reopening of a bankruptcy case to determine whether a particular debt was included within
the scope of the discharge. In re Beezley, 994 F. 2d 1433 (9th Cir. 1993). Because the law is complicated, you may want
to consult an attorney to determine the exact effect of the discharge in this case.
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                                                Main Document Page 3 of 3
 Enterprise Systems Incorporated
 11487 Sunset Hills Road
                                   CERTIFICATE OF SERVICE
 Reston, Virginia 20190-5234

 District/off: 0973-2                 User: OW                            Page 1 of 1                         Date Rcvd: Jul 07, 2005
 Case: 05-16100-ES                    Form ID: VAN-30                     Total Served: 10

 The following entities were served by first class mail on Jul 09, 2005.
 D         +WILLIAMS, VERONICA,    101 E CALDWELL STREET APT #B,    COMPTON, CA 90220-7814
 DA        +MARGERY L MELVIN,   137 N MARENGO AVENUE,    PASADENA, CA 91101-1703
 T         +RICHARD K DIAMOND,   2029 CENTURY PK EAST 3RD FLOOR,     LOS ANGELES, CA 90067-2901
 1         +FLEET CREDIT CARD SERVICES,    P.O. BOX 15368,    WILMINGTON, DE 19886-5368
 2         +GREGORY WILLIAMS,   15615 HASKINS AVENUE,    COMPTON, CA 90220-3218
 3          SEARS CARD,   P.O. BOX 6563,     NEW LAKES, NV 88901
 4         +UNITED STATES TRUSTEE,    725 S. FIGUEROA ST, 26th FLOOR,    LOS ANGELES, CA 90017-5524
 5          LOS ANGELES CITY CLERK,    P. O. Box 53200,    LOS ANGELES, CA 90053-0200
 7          EMPLOYMENT DEVELOPMENT DEPARTMENT,    BANKRUPTCY GROUP MIC 92E,    P.O. BOX 826880,
               SACRAMENTO, CA 94280-0001
 The following entities were served by electronic transmission on Jul 07, 2005 and receipt of the transmission
 was confirmed on:
 1         +EDI: BANKAMFLEET.COM Jul 07 2005 18:12:00      FLEET CREDIT CARD SERVICES,   P.O. BOX 15368,
               WILMINGTON, DE 19886-5368
 6          EDI: CALTAX.COM Jul 07 2005 18:12:00      FRANCHISE TAX BOARD,   ATTN: BANKRUPTCY,    P. O. BOX 2952,
               SACRAMENTO, CA 95812-2952
                                                                                               TOTAL: 2
               ***** BYPASSED RECIPIENTS *****
 NONE.                                                                                                              TOTAL: 0
 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.




I, Joseph Speetjens, declare under the penalty of perjury that I have served the attached document on the above listed entities in the manner
shown, and prepared the Certificate of Service and that it is true and correct to the best of my information and belief.

First Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.




Date: Jul 09, 2005                                      Signature:
